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                                                            Attorneys for Defendants Clark County School District, Dr. Jesus
                                                        7   Jara, Trish Taylor, Karen Stelluto, and Vincent Medina
                                                        8                          UNITED STATES DISTRICT COURT
                                                        9                                  DISTRICT OF NEVADA
                                                       10 EAST CAREER AND TECHNICAL                                     Case Number:
                                                          ACADEMY STUDENTS FOR LIFE,                              2:22-cv-01647-RFB- DJA
                                                       11 FELIPE AVILA, an individual, and
                                                          JANELLE RIVERA, an individual,
                                                       12                                                       STIPULATION AND ORDER
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                                                        Plaintiffs,
                                                       13                                                         (SECOND REQUEST)
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                                  vs.
                                                       14
                                                          CLARK COUNTY SCHOOL DISTRICT;
                                                       15 EAST CAREER AND TECHNICAL
                                                          ACADEMY; DR. JESUS JARA, individually
                                                       16 and in his capacity ad Superintendent of Clark
                                                          County School District; TRISH TAYLOR,
                                                       17 Individually and her capacity as Principal of
                                                          East Career and Technical Academy;
                                                       18 KAREN STELLUTO, individually and in her
                                                          capacity as Assistant Principal of East Career
                                                       19 and Technical Academy; and VINCENT
                                                          MEDINA, Individually and in his capacity as
                                                       20 Assistant Principal of East Career and
                                                          Technical Academy,
                                                       21
                                                                                        Defendants.
                                                       22

                                                       23         The Parties, Plaintiffs East Career And Technical Academy Students for Life, Felipe
                                                       24 Avila and Janelle Rivera (“Plaintiffs”), by and through their counsel of record, David C.

                                                       25 O’Mara, Esq., of The O’Mara Law Firm, P.C., and Defendants Clark County School District

                                                       26 (“CCSD”), Dr. Jesus Jara (“Dr. Jara”), Trish Taylor (“Taylor”), Vincent Medina
                                                       27 (“Medina”), and Karen Stelluto (“Stelluto”) (hereinafter collectively referred to “CCSD

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                                                        1 Defendants”), by and through their counsel of record, Craig R. Anderson, Esq. and Jackie V.

                                                        2 Nichols, Esq., of Marquis Aurbach, hereby agree and jointly stipulate the following:

                                                        3            1.     Plaintiffs filed a Motion for Leave to Amend Plaintiffs’ Complaint [ECF No.
                                                        4 42] (“Motion”).

                                                        5            2.     Plaintiffs and CCSD Defendants agree that the deadline for CCSD
                                                        6 Defendants to file and serve an Opposition to the Motion, currently due on June 9, 2023,

                                                        7 shall be extended by three weeks to June 30, 2023.

                                                        8            3.     The parties are still in the process of settlement discussions. The stipulation
                                                        9 will preserve time and resources based on the on-going settlement discussions.

                                                       10            4.     The instant stipulation is being made in good faith and not for purposes of
                                                       11 delay and that no party waives any arguments by entering into this stipulation.

                                                       12            IT IS SO STIPULATED.
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                       13 DATED this 9th day of June, 2023                   DATED this 9th day of June, 2023
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                       14 THE O’MARA LAW FIRM, P.C.                          MARQUIS AURBACH
                                                       15
                                                            By:      /s/ David C. O’ Mara                    By:       /s/ Jackie V. Nichols
                                                       16         David C. O’Mara, Esq.                            Craig R. Anderson, Esq.
                                                                  Nevada Bar No. 8599                              Nevada Bar No. 6882
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                                                                  311 East Liberty St.                             Jackie V. Nichols, Esq.
                                                       18         Reno, Nevada 89501                               Nevada Bar No. 14246
                                                                                                                   10001 Park Run Drive
                                                       19         Joan M. Mannix, Esq, (pro hac vice)              Las Vegas, Nevada 89145
                                                                  Thomas More Society - Special Counsel            Attorneys for Defendants Clark County
                                                       20         135 South LaSalle Street, Suite 2200             School District, Dr. Jesus Jara, Trish
                                                                  Chicago, IL 60602                                Taylor, Karen Stelluto, and Vincent
                                                       21         Attorneys for Plaintiffs                         Medina
                                                       22
                                                                                                       ORDER
                                                       23
                                                                     The above Stipulation is hereby GRANTED.
                                                       24
                                                                     IT IS SO ORDERED this ____ day of ____________________, 2023.
                                                       25

                                                       26
                                                       27                                         _______________________________________
                                                                                                  United States District Court Magistrate Judge
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                                                        1                                CERTIFICATE OF SERVICE
                                                        2         I hereby certify that I electronically filed the foregoing STIPULATION AND
                                                        3 ORDER (SECOND REQUEST) with the Clerk of the Court for the United States District

                                                        4 Court by using the court’s CM/ECF system on the 9th day of June, 2023.

                                                        5                 I further certify that all participants in the case are registered CM/ECF users
                                                        6 and that service will be accomplished by the CM/ECF system.

                                                        7                 I further certify that some of the participants in the case are not registered
                                                        8 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,

                                                        9 or have dispatched it to a third party commercial carrier for delivery within 3 calendar days

                                                       10 to the following non-CM/ECF participants: N/A

                                                       11

                                                       12
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                                                                              /s/ Krista Busch
                                                       13                                               An employee of Marquis Aurbach
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




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